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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-290 (RBW)
                                     )
JEFFREY ALEXANDER SMITH,             )
                                     )
                  Defendant.         )
____________________________________ )

                                            ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

January 27, 2022, via videoconference, it is hereby

       ORDERED that the defendant’s conditions of release prior to sentencing are

supplemented as follows:

           •   The defendant shall not be rearrested;

           •   The defendant shall comply with all required reports to the Pretrial Services
               Agency;

           •   The defendant shall request in writing and receive written authorization for any
               travel outside of his resident jurisdiction;

           •   The defendant shall seek written authorization for any change of address;

           •   The defendant shall promptly report any criminal violations to the Pretrial
               Services Agency;

           •   The defendant shall be supervised by the appropriate Pretrial Services Agency in
               Colorado; and

           •   The defendant shall not possess any firearms or any other type of weapon.

       SO ORDERED this 28th day of January, 2022.

                                                             ________________________
                                                             REGGIE B. WALTON
                                                             United States District Judge
